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                         UNITEDSTATESDISTRICTCOURT
                         SOUTHERNDISTRICTOF GEORGIA
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                                                                                 23 PF,t2
                               DUBLIN DIVISION
                                                                           Ct-E'?
UNITED STATESOF AMERICA,                                                                     OFOA.


                                                      cR314-002
LUTHERHURSI
A/K/A "DANK".

                 ORDERGRANTINGMOTION FORLEA\E OF ABSENCE

      WhereasTom A. PetersonIV, counselfor Luther Hurst in the above-sfled case,filed his

Motion for Leaveof Absenceherein in which he properly requestedleaveof absencefrom this

Court for the period of time from February5, 2015throughFebruary9, 2015.

      It is herebyorderedand adjudgedthat said Motion for kave of Absenceis granted

regardingthe foregoinCd:jf.

      so oraerea,thtslfday of )
                          <l

                                                Judge, United      District Court


Order prepared by:

Tom A. Peterson IV
GA Bar No. 574545
Attorney for Lurther Hurst
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